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                                   UNITED STATES JUDICIAL PANEL
                                                on
                                    MULTIDISTRICT LITIGATION



IN RE: KIA HYUNDAI VEHICLE THEFT
MARKETING, SALES PRACTICES, AND PRODUCTS
LIABILITY LITIGATION                                                                             MDL No. 3052



                                       (SEE ATTACHED SCHEDULE)



                             CONDITIONAL TRANSFER ORDER (CTO −2)



On December 13, 2022, the Panel transferred 14 civil action(s) to the United States District Court for the
Central District of California for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. §
1407. See ___F.Supp.3d___ (J.P.M.L. 2022). Since that time, no additional action(s) have been transferred to
the Central District of California. With the consent of that court, all such actions have been assigned to the
Honorable James V. Selna.

It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
actions previously transferred to the Central District of California and assigned to Judge Selna.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the Central District of
California for the reasons stated in the order of December 13, 2022, and, with the consent of that court,
assigned to the Honorable James V. Selna.

This order does not become effective until it is filed in the Office of the Clerk of the United States District
Court for the Central District of California. The transmittal of this order to said Clerk shall be stayed 7 days
from the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7−day
period, the stay will be continued until further order of the Panel.



                                                           FOR THE PANEL:

                                  Dec 28, 2022

                                                           John W. Nichols
                                                           Clerk of the Panel
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MARKETING, SALES PRACTICES, AND PRODUCTS
LIABILITY LITIGATION                                                         MDL No. 3052



                     SCHEDULE CTO−2 − TAG−ALONG ACTIONS



  DIST       DIV.      C.A.NO.     CASE CAPTION


PENNSYLVANIA EASTERN

  PAE         2       22−04931     MURPHY et al v. KIA AMERICA, INC. et al
